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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
    PRODUCTS LIABILITY                                                                 20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER # 45
                      Order on Service of Discovery Requests and Responses

          This Order applies to all cases pending in MDL No. 2924 and to all actions transferred to

   or directly filed in MDL No. 2924 after the date of this Order. Nothing in this Order modifies or

   abridges the protections set forth in the Confidentiality Order, Pretrial Order # 26 (“PTO # 26”).

          To promote efficiencies and the timely notice of service on the parties, Plaintiffs shall serve

   written discovery requests subject to Federal Rules of Civil Procedure 30, 31, 33, 34, 36, and 45—

   i.e., notices of depositions, interrogatories, requests for documents, requests for admission, and

   subpoenas—by sending electronic copies of such materials to: (1) the counsel of record for the

   individual Defendant to which such discovery is directed, if applicable; and (2) the following email

   address: xServiceZantac@arnoldporter.com. Defendants shall serve such written discovery by

   sending electronic copies of such materials to: (1) Michael McGlamry (mmcglamry@pmkm.com)

   and Tracy Finken (tfinken@anapolweiss.com); (2) the counsel of record for the individual Plaintiff

   to whom such discovery is directed, if applicable; and (3) the following email address:

   zdiscovery@pulaskilawfirm.com.       Compliance with the foregoing provision shall constitute

   service pursuant to the Federal Rules of Civil Procedure and the Local Rules. This provision does
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   not relieve the parties from the requirements of service on third parties with respect to notices of

   deposition and subpoenas.

          To promote efficiencies as to Defendants’ production of documents to Plaintiffs,

   Defendants shall serve all productions made by electronic means such as file transfer protocol

   (“FTP”)    by   providing    access    and    any    required   passwords     to   the   following:

   InsZantacTeam@opentext.com and Josh Schmitt (joshuas@opentext.com), with copies to Tracy

   Finken (tfinken@anapolweiss.com), Michael McGlamry (mmcglamry@pmkm.com), and Roopal

   Luhana (Luhana@chaffinluhana.com). Defendants shall serve productions made by physical

   means such as hard drive by mailing them to the following address:

                                             OpenText
                                     ATTN: Media – Zantac team
                                     1860 Blake Street, 7th Floor
                                         Denver, CO 80202

   Defendants shall send production correspondence, including any transmittal letters and tracking

   numbers, to the following email addresses: InsZantacTeam@opentext.com and Josh Schmitt

   (joshuas@opentext.com), with copies to Tracy Finken (tfinken@anapolweiss.com), Michael

   McGlamry (mmcglamry@pmkm.com), and Roopal Luhana (Luhana@chaffinluhana.com).

          When a third party responds to a subpoena or otherwise produces documents, items, or

   information pursuant to a subpoena issued in this litigation, the receiving party shall, subject to

   PTO # 26, ensure that copies of the response and/or responsive materials are produced to any other

   party to whom notice of the subpoena is required within seven (7) calendar days of receipt. Subject

   to PTO # 26, responses and documents received pursuant to any subpoena issued by a Defendant

   shall be provided to Plaintiffs via FTP to the zdiscovery@pulaskilawfirm.com email address.

   Subject to PTO # 26, responses and documents received pursuant to any subpoena issued by

   Plaintiffs shall be provided to Defendants via FTP to the xServiceZantac@arnoldporter.com email

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   address. If the documents to be provided by any party are too large for electronic transmission,

   that party shall provide notice to the opposing side via the applicable email address and request

   instructions for serving the production via physical means.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 29th day of

   September, 2020.



                                                    _______________________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE




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